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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

    In re:                                                          Chapter 11

    BOY SCOUTS OF AMERICA AND                                       Case No. 20-10343 (LSS)
    DELAWARE BSA, LLC,1
                                                                    Jointly Administered
                                      Debtors.
                                                                    Re: Docket No. 9723


                CERTIFICATION OF NO OBJECTION REGARDING
         FOURTEENTH MONTHLY AND SEVENTH INTERIM APPLICATION
        OF BERKELEY RESEARCH GROUP, LLC FOR COMPENSATION FOR
     SERVICES RENDERED AND REIMBURSEMENT OF EXPENSES INCURRED AS
     FINANCIAL ADVISORS TO THE OFFICIAL TORT CLAIMANTS’ COMMITTEE
       FOR THE PERIOD FROM AUGUST 1, 2021 THROUGH OCTOBER 31, 2021
                          (NO ORDER REQUIRED)

                  The undersigned hereby certifies that, as of the date hereof, no answer, objection

or other responsive pleading has been received to the Fourteenth Monthly and Seventh Interim

Application of Berkeley Research Group, LLC for Compensation for Services Rendered and

Reimbursement of Expenses Incurred as Financial Advisors to the Official Tort Claimants’

Committee for the Period from August 1, 2021 through October 31, 2021 (the “Application”)

filed on April 25, 2022 [Docket No. 9723]. The undersigned further certifies that the Court’s

docket in this case has been reviewed and no answer, objection or other responsive pleading to

the Application appears thereon. Pursuant to the notice of Application, objections to the

Application were to be filed and served no later than May 9, 2022 at 4:00 p.m. prevailing Eastern

Time.




1  The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s federal tax identification
number, are as follows: Boy Scouts of America (6300) and Delaware BSA, LLC (4311). The Debtors’ mailing address
is 1325 West Walnut Hill Lane, Irving, Texas 75038.


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                 Pursuant to the Order (I) Approving Procedures for (A) Interim Compensation

and Reimbursement of Expenses of Retained Professionals and (B) Expense Reimbursement for

Official Committee Members and (II) Granting Related Relief [Docket No. 341] entered on April

6, 2020, the Debtors are authorized to pay Berkeley Research Group, LLC $572,216.80 which

represents 80% of the fees ($715,271.00) and $0.00 which represents 100% of the expenses

requested in the Application, for the period from August 1, 2021 through October 31, 2021, upon

the filing of this Certification and without the need for entry of a Court order approving the

Application.

Dated: May 10, 2022                           PACHULSKI STANG ZIEHL & JONES LLP

                                              /s/ James E. O’Neill
                                              Richard M. Pachulski (CA Bar No. 90073)
                                              Alan J. Kornfeld (CA Bar No. 130063)
                                              Debra I. Grassgreen (CA 169978)
                                              Iain A.W. Nasatir (CA Bar No. 148977)
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                                              Counsel for the Tort Claimants’ Committee




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